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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Bureau of Consumer Financial                            Case No. 1:20-cv-04176
Protection,

                Plaintiff,

               v.                                       Judge Franklin U. Valderrama
                                                        Magistrate Judge Heather K. McShain
Townstone Financial, Inc. and Barry Sturner,

                Defendants.




    JOINT RULE 60(B)(6) MOTION FOR RELIEF FROM AND VACATUR OF THE
                STIPULATED FINAL JUDGMENT AND ORDER

        Pursuant to Rule 60(b)(6) of the Federal Rules of Civil Procedure, Plaintiff Bureau of

Consumer Financial Protection (“Bureau”) and Defendant Townstone Financial, Inc.

(“Townstone”) jointly move the Court to relieve Townstone from the November 7, 2024

Stipulated Final Judgment and Order, ECF No. 138, and to vacate that Judgment and Order in its

entirety. The parties have submitted a proposed Order and respectfully ask that the Court enter

it. Upon this Court’s grant of Rule 60(b)(6) relief, all parties to this action stipulate to the

dismissal with prejudice of all claims against Townstone and Mr. Sturner pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), (B).




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Dated: March 26, 2025.


Respectfully submitted,

CONSUMER FINANCIAL                           TOWNSTONE FINANCIAL, INC.,
PROTECTION BUREAU                            AND BARRY STURNER
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 26, 2025, I electronically filed the

foregoing document with the Clerk of the Court via the CM/ECF system, which will cause a

copy to be served upon counsel of record.


                                                                              /s/ Mark Paoletta
                                                                            MARK PAOLETTA




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